Case 19-80399 Doci6 Filed 06/24/19 Pageiofi1

Fill in this information to identify the case:

Debtorname Joe Sanderford And Son Logging, Inc.

United States Bankruptcy Court for the: MIDDLE DISTRICT OF NORTH CAROLINA

 

Case number (ifknown) 19-80399

 

O Check if this is an
amended filing

 

 

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals 12/15

Summary of Assets

 

1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

1a. Real property:
Copy line 88 from Schedule A/Beoccccccccscsccsssssessssssssvssssscsssssvesssssvesesssssessssssecsssssessssvecsssssvesensivesassvensnsvsssnrvessenenea $ 460,000.00

1b. Total personal property:
Copy line 91A from Schedule AVB..... cect ceseeeseneeessenecedcsseaeiecssaeeacieeceeseceseseceeaeecseeeeesesessaeateaees $ 957,625.00

ic. Total of all property:
Copy litte 92 from SCHEOUIG AN BairciccicisrascsriccnmaniiaranomnnaenNiitNIeNOR RAHN Ra RRS $ 1,017,625.00

Summary of Liabilities

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule Duo... eee eee $ 858,025.00

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

3a. Total claim amounts of priority unsecured claims:
Copy the total claims from Part 1 from line 5a of Schedule E/F.......ccccccccccccecccccceseeessenseccssecssccssesssesssecsteeecseees $ 0.00

3b. Total amount of claims of nonpriority amount of unsecured claims:
Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F.........ccecceccceseeteneteenetteeeesestens +$ 184,753.60

 

A, Total ViAD ICS oc ccccceeesceessesesessueusuessaeeeceessseecesssecesessueeceseusaseseeseeesecsseeesessceetesersaeesentseeesensnaatessens
Lines 2+ 3a+ 3b $ 1,042,778.60

 

 

 

Official Form 206Sum Summary of Assets and Liabilities for Non-Individuals page 1
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